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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Luis Acosta
                                      Plaintiff,
v.                                                        Case No.: 1:15−cv−08942
                                                          Honorable Sara L. Ellis
El Ranchito Food, Inc., et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 3, 2016:


       MINUTE entry before the Honorable Sara L. Ellis: Motion hearing held on
11/2/2016. Plaintiff's motion to extend dismissal with prejudice date and enforcement
settlement agreement [31] is granted. Defendant is ordered to submit checks to Plaintiff's
counsel within one week of this order. The date by which dismissal converts to with
prejudice is extended to 11/30/2016. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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